  AO 435 Case 22-50073                       Doc 3245           Filed 06/12/24         Entered 06/12/24 20:45:21                   Page 1 of 4
(Rev. 04/18)
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                                                                                                                        DUE DATE:
     Instructions                                               TRANSCRIPT ORDER
Please Read Instructions:
1. NAME                                                                             2. PHONE NUMBER                     3. DATE
Patrick R. Linsey                                                                   (203) 781-2847                      6/10/2024
4. DELIVERY ADDRESS OR EMAIL                                                        5. CITY                             6. STATE         7. ZIP CODE
plinsey@npmlaw.com                                                                  New Haven                           CT                06510
8. CASE NUMBER                                  9. JUDGE                                                DATES OF PROCEEDINGS
22-50073                                        Hon. Julie A. Manning               10. FROM 6/10/2024             11. TO 6/10/2024
12. CASE NAME                                                                                         LOCATION OF PROCEEDINGS
Ho Wan Kwok and Genever Holdings LLC                                                13. CITY Bridgeport            14. STATE CT
15. ORDER FOR
’ APPEAL                                        ’ CRIMINAL                          ’ CRIMINAL JUSTICE ACT                  ’ BANKRUPTCY
’ NON-APPEAL                                    ’ CIVIL                             ’ IN FORMA PAUPERIS                     ’ OTHER (Specify)
16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                 PORTIONS                                       DATE(S)                         PORTION(S)                            DATE(S)
’ VOIR DIRE                                                                         ’ TESTIMONY (Specify Witness)
’ OPENING STATEMENT (Plaintiff)
’ OPENING STATEMENT (Defendant)
’ CLOSING ARGUMENT (Plaintiff)                                                      ’ PRE-TRIAL PROCEEDING (Spcy)
’ CLOSING ARGUMENT (Defendant)
’ OPINION OF COURT
’ JURY INSTRUCTIONS                                                                 ’ OTHER (Specify)
’ SENTENCING                                                                        Entire Hearing                      6/10/2024
’ BAIL HEARING
                                                                               17. ORDER
                             ORIGINAL                               ADDITIONAL
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18. SIGNATURE                                                                       PROCESSED BY
/s/ Patrick R. Linsey                                                                                   Lorenzo M. Whitmore
19. DATE                                                                            PHONE NUMBER
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6/10/2024
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           UNITED STATES BANKRUPTCY COURT
           FOR THE DISTRICT OF CONNECTICUT
                            Honorable Julie A. Manning

                               Monday June 10 2024




01:00   22-      Ho Wan Kwok
PM      50073
        Ch: 11
Matter: #3203; Motion for Order Approving Liquidation of VCTR Shares, Distribution
        of Proceeds, and Related Relief Filed by Patrick R. Linsey on behalf of Luc A.
        Despins, Chapter 11 Trustee
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